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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

     UMG RECORDINGS, INC., et al.,

             Plaintiffs,

                 v.                                        Case No. 8:19-cv-00710-MSS-TGW

     BRIGHT HOUSE NETWORKS, LLC,

             Defendant.


      PLAINTIFFS’ MOTION FOR LEAVE TO SUBMIT A THREE-PAGE REPLY IN
       FURTHER SUPPORT OF THEIR MOTION TO DENY WAYNE COLEMAN’S
     DESIGNATION AS A QUALIFIED PERSON UNDER THE PROTECTIVE ORDER

           Pursuant to Local Rule 3.01(c), Plaintiffs respectfully request leave to file a reply of

    no more than three pages in further support of their Motion to Deny Wayne Coleman’s

    Designation As a Qualified Person Under the Protective Order (Dkt. 143) (the “Motion”).

    Plaintiffs seek leave in order to address events that occurred after the filing of Plaintiffs’

    Motion and Bright House Networks’ (“BHN”) Opposition (Dkt. 152), and to respond to

    mischaracterization of law and facts in BHN’s Opposition.

           Good cause for a reply exists because the reply (i) “will benefit the Court’s resolution

    of the pending motion” by addressing “new facts” that arose after Plaintiffs’ Motion was

    filed, see Gian Biologics LLC v. CellMedix Holdings, LLC, No. 2:15-cv-645-FTM-99CM,

    2016 WL 9525229, at *1 (M.D. Fla. Oct. 5, 2016); and (ii) will address arguments first raised

    in BHN’s Opposition, see Clements v. St. Johns County Sheriff’s Office, No. 3:07-cv-1017-J-

    25JRK, 2008 WL 11336601, at *2 (M.D. Fla. Dec. 5, 2008). As Plaintiffs noted in their

    Motion, negotiations between the parties were ongoing at the time the Motion was filed, and
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    Plaintiffs intended to seek leave for further briefing in the event that those negotiations broke

    down. Dkt. 143 at 3, 7. Since filing their Motion, Plaintiffs continued to seek an informal

    resolution with BHN and made two different proposals, both of which were rejected. Most

    concerning, Plaintiffs’ most recent proposal was that Mr. Coleman specifically agree to abide

    by certain nondisclosure requirements that he has executed in connection with prior

    engagements as a royalty auditor or consultant. To Plaintiffs’ surprise, BHN refused to have

    Mr. Coleman confirm he would not use, share, or disclose in this case any nonpublic

    information learned during any engagements as a consultant in any other action adverse to

    any of the Plaintiffs, or in any of his engagements as a royalty auditor adverse to any of the

    Plaintiffs. Plaintiffs seek leave in order to address the negotiations between the parties since

    their Motion was filed, including the positions taken by BHN that heighten Plaintiffs’

    concern that there is a “risk of serious harm” created by BHN’s retention of Mr. Coleman.

            In addition, Plaintiffs seek to address mischaracterizations of law and facts in BHN’s

    Opposition. BHN contends that a misuse of confidential information results in “serious

    harm” only when that information is disclosed to a party’s direct competitor. Dkt. 152, at 6–

    7. That improperly narrow interpretation of “serious harm” is not borne out by the caselaw

    and does not account for the various ways in which confidential information may be used to

    injure a party. Plaintiffs seek leave to address those arguments, as well as BHN’s contention

    that the proposals it made to Plaintiffs obviate their objections.

           Plaintiffs accordingly request leave to submit a reply of no more than three pages

    addressing the matters above, to be filed no more than five business days following the

    Court’s ruling on this request.




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                            LOCAL RULE 3.01(g) CERTIFICATION

           Pursuant to Local Rule 3.01(g), Plaintiffs certify that they attempted to confer with

    BHN regarding this motion. On July 30 at 12:32 p.m. PT, Plaintiffs sent counsel for BHN an

    email stating their intent to file this motion, and asking for BHN’s position by July 31 at 9:00

    a.m. PT. As of the filing of this motion, Plaintiffs have not received a response.



     Dated: July 31, 2020                            /s/ Jonathan M. Sperling
                                                     Jonathan M. Sperling




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                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on July 31, 2020, I caused the foregoing document and all

    supporting materials thereto to be filed electronically with the Clerk of the Court using the

    CM/ECF system, which will send a notice of electronic filing to all counsel of record

    registered with CM/ECF.


                                                          /s/ Jonathan M. Sperling
                                                          Attorney




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